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                   8                                UNITED STATES DISTRICT COURT
                   9                           CENTRAL DISTRICT OF CALIFORNIA
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              11       KEVIN A. SHAW,                           Case No. 2:17-CV-02386-ODW-PLA
              12                       Plaintiff,               ORDER TO CONTINUE TRIAL DATE AND
                                                                RELATED PRE-TRIAL DATES
              13             v.
              14       KATHLEEN F. BURKE, et al.,
              15                       Defendants.
              16
              17
                             Pursuant to the stipulation of the Parties and their counsel, and good cause
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                       having been shown, the schedule of trial and pretrial dates shall be continued as
              19
                       follows:
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                             1.     The trial date shall be continued from March 12, 2019 to July 16,
              21
                       2019 at 9:00 a.m.;
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                             2.     The hearing on motions in limine shall be continued from February
              23
                       25, 2019 to July 1, 2019 at 1:30 p.m.;
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                             3.     The Final Pre-Trial Conference shall be continued from February 11,
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                       2019 to June 17, 2019 at 1:30 p.m.;
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                             4.     The motion hearing cutoff date shall be continued from January 7,
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                       2019 to May 6, 2019;
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  C ROWELL
& M ORING LLP                                                              [PROPOSED] ORDER TO CONTINUE TRIAL DATE;
ATTORNEYS AT LAW                                                                       CASE NO. 2:17-CV-02386-ODW-PLA
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                   1         5.    The expert discovery cutoff shall be continued from September 10,
                   2   2018 to March 15, 2019;
                   3         6.    The percipient fact discovery cutoff shall be continued from November
                   4   2, 2018 to March 1, 2019.
                   5         7.    Accordingly, the schedule of trial and pretrial dates shall be set as
                   6   follows:
                   7               (a)   Trial date: July 16, 2019
                   8               (b)   Deadline to File Final Trial Exhibit Stipulations: July 11, 2019
                   9               (c)   Hearing on Motions in Limine: July 1, 2019
              10                   (d)   Deadline to File Opposition to Motions in Limine: June 24, 2019
              11                   (e)   Final Pre-trial conference: June 17, 2019
              12                   (f)   Deadline to file Motions in Limine: June 17, 2019
              13                   (g)   Deadline to file the following: June 10, 2019
              14                                Proposed Pretrial Conference Order
              15                                Memo and Contentions of Fact and Law
                                                Joint Witness List
              16                                Joint Exhibit List and Exhibit Stip
              17                                Proposed Verdict Forms
                                                Proposed/Disputed Jury Instructions
              18
                                                Proposed Voir Dire Questions
              19                                Joint Statement of the Case
              20                                Joint Status report re Settlement

              21                   (h)   Deadline for hearing motions: May 6, 2019

              22                   (i)   Expert Discovery cut off: March 15, 2019

              23                   (j)   Percipient/Fact Discovery cut off- March 1, 2019
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  C ROWELL
& M ORING LLP                                                              [PROPOSED] ORDER TO CONTINUE TRIAL DATE;
ATTORNEYS AT LAW
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                   1        8.    Discovery shall be stayed pending the settlement negotiations and
                   2   through December 13, 2018.
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                            IT IS SO ORDERED.
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                   6        Dated: October 9, 2018

                   7                                             By ____________________________
                                                                      Hon. Otis D. Wright, II
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  C ROWELL
& M ORING LLP                                                           [PROPOSED] ORDER TO CONTINUE TRIAL DATE;
ATTORNEYS AT LAW
                                                           -2-                      CASE NO. 2:17-CV-02386-ODW-PLA
